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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES—
                                       GENERAL

 Case No.      5:24-cv-00494-SHK                                     Date April 30, 2024
 Title   Luz Zendejas v. Red Moon, Inc., et al.



Present: The Honorable     Shashi H. Kewalramani, United States Magistrate Judge


               D. Castellanos                                         Not Reported
               Deputy Clerk                                           Court Reporter


    Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
               None Present                                            None Present


Proceedings:        (IN CHAMBERS) ORDER TO SHOW CAUSE


        On March 6, 2024 Plaintiff Luz Zendejas (“Plaintiff”) filed a Complaint (“Complaint” or
“Compl.”) in this Federal Court. Electronic Case Filing Number (“ECF No.”) 1, Compl. On
April 9, 2024, Plaintiff filed a Proof of Service of Summons of Complaint (“Proof of Service” or
“POS”), indicating that Plaintiff served the summons and Complaint on Defendant Red Moon,
Inc. on April 1, 2024, and Defendant Michael Nishanian on April 4, 2024. ECF No. 7,8.

         Generally, defendants must answer or otherwise respond to a complaint within twenty-
one days after being served with the summons and Complaint. Fed. R. Civ. P. 12(a)(1)(A)(i).
Here, because service was effectuated on April 1, 2024, and April 4, 2024, Defendant’s answer
was due twenty-one days later. As of the date of this Order, Defendants have not filed an answer
or otherwise responded to the Complaint and Plaintiff has not requested that default be entered
against Defendants as authorized under Federal Rule of Civil Procedure (“Rule”) 55. As such,
this litigation is stalled.

       Accordingly, Plaintiff is ORDERED TO SHOW CAUSE in writing by May 7, 2024,
why this action should not be dismissed for failure to prosecute. Plaintiff can satisfy this order
by requesting that default be entered against Defendants pursuant to Rule 55 by the date stated
above. Plaintiff is warned that failure to timely respond to this OSC in the manner stated above
may result in the dismissal of this action for failure to prosecute and follow Court orders.

         IT IS SO ORDERED.


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